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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       OCALA DIVISION
CHERYL RAFFERTY, on
behalf of herself and all others
similarly situated,
         Plaintiff,                                       Case No: 5:17-cv-426-Oc-40PRL
v.

RETRIEVAL-MASTERS CREDITORS
BUREAU, INC., doing business as
RMCB COLLECTION AGENCY,
And John Does 1-25.
         Defendants.
-----------------------------------------------/

                        REPLY TO SUMMARY JUDGMENT RESPONSE

        Plaintiff, Cheryl Rafferty, hereby replies to Defendant’s Response to her Motion for

Summary Judgment (Doc. 35) and states as follows:

        1.       Defendant argues that the debt it tried to collect from Plaintiff may not be a

consumer debt and thus it is not covered by the FDCPA. Specifically, its Declaration at Doc. 35-

4 claims: “RMCB is unaware for what purpose the account balances it collects upon have been

incurred, and RMCB has collected on account balances that were not incurred for personal,

family or household purposes.” Defendant’s assertion shows that it failed to comply with basic

reporting requirements and therefore must only lawfully be collecting consumer debts in Florida.

        2.       According to the Florida Department of Financial Regulations’ online Public

License Search, 1 Defendant is only licensed with the Florida Office of Financial Regulation as a

Consumer Collection Agency. See also Denius v. Dunlap, 330 F.3d 919, 926-27 (7th Cir. 2003)

(taking judicial notice of information from official government website). Florida Administrative



1https://real.flofr.com/ConsumerServices/SearchLicensingRecords/Search.aspx. To perform the
search as to RETRIEVAL-MASTERS CREDITORS BUREAU, INC., the searcher must put a
space between the “–“ and the “M”. The active license number is: CCA0900588.

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Code 69V-180.080(9)2 requires a Consumer Collection Agency to maintain basic information

about the debt including, at the minimum, documentation of the debt provided by the creditor.

Defendant’s Declaration admits that it is unaware for what purpose the account balances it

collects upon have been incurred, including information about Plaintiff’s alleged debt.3 As a

result, it is clear that Defendant has violated this rule. See also F.S. 559.5556 (Maintenance of

Records); Silhan v. Allstate Ins. Co., 236 F.Supp.2d 1303 (N.D. Fla. 2002) (in connection with

the spoliation of evidence, “A duty to preserve evidence can arise by contract, by statute, or by a

properly served discovery request (after a lawsuit has already been filed).”).

       3.      Further, Defendant has not shown that it qualifies for any exemptions under the

law to collect commercial debts without a commercial collection agency license. F.S. 559.544(5)

lists the exemptions from registering as a commercial collection agency for those engaging in the

business of a commercial collection agency. Those include section (5)(e), which exempts

Defendant if less than one-half of its collection revenue arises from the collection of commercial

claims, and section 5(i), which exempts out-of-state collectors. In this case, section 5(i) clearly

does not apply because Defendant collects consumer debts in Florida under its Consumer

Collection Agency license; thus, its business activities in this state are not limited to collecting

commercial claims. See 559.543(4) (definition of out-of-state collector).4 Defendant cannot rely




2 https://www.flrules.org/gateway/RuleNo.asp?title=COLLECTION%20AGENCIES&ID=69V-
180.080.
3 Paragraph 6 of the Complaint alleges that Plaintiff is a “consumer” as defined by Section 1692a

and that her debts are all for personal purposes. Those allegations are sufficient to state a claim.
See e.g. Munroe v. Nationstar Mortg. LLC, 207 F.Supp.3d 232, 241-42, 2016 WL 4766244, at *7
(E.D.N.Y. 2016). See also 15 U.S. Code § 1692a(5) (“The term ‘debt’ means any obligation or
alleged obligation of a consumer. . . .) (emphasis supplied).
4 “’Out-of-state collector’ means any person or business entity engaged in the business of

soliciting commercial claims for collection or of collecting commercial claims whose business
activities in this state are limited to collecting commercial claims by means of interstate

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on the 5(e) exemption to collect commercial debts because it admits that it did not record the

revenue it obtains from those claims. Without such records, it cannot show that does not exceed

the one-half limit of allowable commercial collections. See F.A.C. 69V-180.080(9).

       4.      Finally, Defendant’s Declaration is far too vague to raise a genuine issue of

material fact as to whether it collected anything but consumer debts in Florida. Although

Defendant claims that “RMCB has collected on account balances that were not incurred for

personal, family or household purposes,” it does not state when it did so, how it performed those

collections and whether those collections actually occurred in Florida. Defendant did not prove

that it is exempt from the requirement to register as a commercial collection agency pursuant to

Fla. Stat. Sec. 559.544(5). These facts – the circumstances, timing, manner, type and location of

Defendant’s alleged commercial collections - are clearly material.

       5.      Defendant’s Declaration proves it could not be legally collecting commercial debt

in Florida; thus, it could only be trying to legally collect an alleged consumer debt from Plaintiff.

       Dated: March 9, 2018                           /s/ Michael Massey
                                                      Trial Counsel
                                                      Fla. Bar No. 153680
                                                      Massey@352law.com
                                                      Massey & Duffy, P LLC
                                                      855 E. University Ave.
                                                      Gainesville, FL 32601

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foreign has been delivered

electronically by filing the same with the Court’s electronic filing system and sending a copy to

counsel for the Defendant on this March 9, 2018.

                                                      s/ Michael Massey


communications, including telephone, mail, or facsimile transmission, originating from outside
this state.” (emphasis supplied).

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